                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
TZVIA WEXLER,                                        :
                              Plaintiff,             :
                                                     :               Civil Action
                       v.                            :               No. 19-5760
                                                     :
CHARMAINE HAWKINS, et al.,                           :
                   Defendants.                       :
                                                     :

    DEFENDANTS’ FIRST SET OF INTERROGATORIES AND REQUESTS FOR
   PRODUCTION OF DOCUMENTS DIRECTED TO PLAINTIFF TZVIA WEXLER

       Defendants, Police Officer Charmaine Haynes-Hawkins, Corporal Kelly Ann Keenan and

Detective James Koenig, hereby serve Interrogatories and Requests for Production of Documents

upon you, Plaintiff Tzvia Wexler, pursuant to Federal Rules of Civil Procedure 33 and 34. You

are hereby notified that your Answers, duly executed and sworn, must be returned within thirty

(30) days of the date of service of these documents. These Interrogatories and Requests for

Production of Documents are continuing in nature and, therefore, will require supplemental

responses as additional information is obtained by the Plaintiff as mandated pursuant to the

applicable Rules of Civil Procedure.

       Your responses shall be based upon information known to you or in the possession, custody

or control of you, your attorney or other representative acting on your behalf, whether in

preparation for litigation or otherwise. The fact that investigation is continuing or that discovery

is not complete shall not be used as an excuse for failure to answer each interrogatory or request

for documents as completely as possible. This means that you must provide an answer now based

on the information you currently know or have in your possession, custody or control. You may

not withhold such information until your investigation has concluded or discovery is complete.
The omission of any name, fact, or other item of information from your responses shall be deemed

a representation that such name, fact, or other item was not known to the Plaintiff, the Plaintiff's

counsel, or other representatives at the time of service of your responses.

       All terms in these Interrogatories and Requests for Documents shall be given their ordinary

meaning unless specifically defined otherwise. When an Interrogatory requests you to "Identify"

a person or place, you are to provide that person's or place's name, address and telephone number.

When an Interrogatory requests you to "Identify" a document, you are to provide the name, address

and telephone number of the person who authored the document, the nature and content of the

document identified, and the date and place where it was prepared or authored. For purposes of

these Interrogatories, and as the facts of this civil action may require, the singular shall be plural

and the plural shall be singular where applicable or appropriate.

As the context of the Interrogatory may require, "you" or "your" shall mean the Plaintiff, or the

Plaintiff's agent, representative or other person acting on the Plaintiff's behalf.
Interrogatories

   1. Please provide your personal identifying information, including:

          a. Full name;

          b. Any aliases or other names you have been used or been known by;

          c. Address at the time of the incident(s);

          d. Date of birth;

          e. Social Security Number;

          f. Height;

          g. Weight.



   2. Have you received any formal education? If so, please include:

          a. Name of institution(s) attended;

          b. Dates attended;

          c. Area(s) of study;

          d. Degree(s) received;

          e. Certification(s) received.



   3. What is your occupation, career, or profession? Please include:

          a. Current place of work, including address and immediate supervisor;

          b. Previous places of work for the five (5) years preceding the incident which forms

              the basis for your Complaint, including addresses and immediate supervisors for

              each place of work;




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       c. Hourly pay, including estimated yearly gross pay, or salary information for each

            place of work listed under this Interrogatory.



4. Have you ever been involved in a civil suit for damages, either as a plaintiff, or a

   defendant? If so, please include:

       a. The caption and docket number of any such suit;

       b. The court in which any such suit was brought;

       c. The resolution of any such suit.



5. Have you been convicted of any crime in the past ten (10) years?

   If so, state:

       a. The nature of the crime of which you were convicted;


       b. The jurisdiction in which you were convicted;


       c. The docket or case number; and


       d. The sentence imposed and when completed.




6. Please provide a physical description of each individual with whom you came into contact

   during, and immediately preceding, the incident which forms the basis for your Complaint

   on June 9, 2019. Please include and/or state the individual’s:

       a. Name;

       b. Height;



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       c. Weight;

       d. Skin color.



7. In your Complaint, you allege that you were “assaulted, detained and arrested/caused to be

   arrested” on June 9, 2019, by Officer Haynes-Hawkins. You also allege that Corporal

   Keenan and Detective Koenig arrested you without probable cause and acted with

   malicious intent. Identify any person who witnessed, within sight or hearing, the events

   that led up to the alleged incident described in your Complaint, and any person who

   witnessed the incident itself. In answering this Interrogatory, state the witness’ name and

   address; where he or she was located during the relevant time period; and what, if anything,

   he or she said regarding the incident. If you have a signed statement or affidavit from any

   such witness, identify when and by whom the statement was obtained (provide the address

   of the person who obtained the statement), and provide a summary of its contents.



8. List by company name, claim address and policy number(s) all policies of health/medical

   insurance (including HMOs and health and welfare funds) providing coverage to you on

   the date this cause of action arose for any portion of your injuries/damages that you contend

   are related to the alleged incident.



9. Concerning any physical injury you claim you have suffered or continue to suffer as a result

   of the alleged incident:


       a. The identity, by name and address, of each hospital or university medical center
          where you were examined and/or treated;



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       b. The identity of any person who examined, evaluated or treated you, noting their
          name address and specialty;


       c. The identity, by name and address, of any diagnostic test center that provided
          services and what tests were performed.


       d. The dates of all examinations, evaluations, treatments or confinements by
          healthcare professionals and their corresponding charges.


       e. Identify any healthcare professional(s) you are currently consulting and/or treating
          with for any of the injuries and/or damages you sustained as a direct result of the
          alleged incident, and what symptoms from which you still allegedly suffer.


10. Please describe any physical injuries for which you are seeking damages, including:

       a. Area injured;

       b. Type of injury;

       c. Symptoms associated with the injury; and

       d. Duration of any symptoms associated with the injury.



11. Have you sought any medical treatment, chiropractic treatment, physical therapy, or any

   other type of treatment for the physical injuries identified in the previous Interrogatory?

   If so, please include:

       a. Name of any licensed professional who examined, treated, or prescribed treatment

           for such physical injuries or conditions;

       b. Address of any licensed professional who provided, recommended or prescribed

           treatment for such physical injuries or conditions;

       c. Dates of treatment received;


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       d. Type of treatment received;

       e. Prognosis of injury, including extent and frequency of any ongoing pain and/or

           disability;

       f. Amount of money you personally expended on such treatment; and

       g. Amount of money you still owe for any treatment received.



12. Have you previously been injured in the same area as any injuries you identified in

   Interrogatory 10? If so, please include:

       a. Date and cause of prior injury;

       b. Name and address of any licensed professional who rendered, prescribed, or

           recommended treatment for the prior injury; and

       c. Dates of any treatment for the prior injury.



13. If you have fully recovered from the injuries you allege to have sustained as a direct result

   of the alleged incident, state the approximate date you recovered. If you have not fully

   recovered from your injuries, then describe any pain, ailment, complaint, injury or

   disability that you allege you still suffer from as a direct result of the alleged incident.



14. If you suffered any injury subsequent to your recovery from the injuries arising out of the
    alleged incidents, state:

       a. the nature and extent of such injury;

       b. the parts of your body affected by the injury; and

       c. the date on which the injury was sustained and the date on which you recovered.




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15. Are you claiming that, as a result of any actions taken by Defendants, that you suffered

   any psychological or emotional injury? If so, please include:

       a. Name of any licensed professional who examined, treated, or prescribed treatment

            for such psychological/emotional injuries or conditions;

       b. Address of any licensed professional who provided, recommended or prescribed

            treatment for such psychological/emotional injuries or conditions;

       c. Dates of treatment received;

       d. Amount of money you personally expended on such treatment;

       e. Amount of money you still owe for any treatment received.



16. Have you previously been diagnosed with any psychological or emotional condition? If

   so, please include:

       a. Formal diagnosis, if any, for your psychological or emotional condition;

       b. Name and address of any licensed professional who rendered, prescribed, or

            recommended treatment that psychological or emotional condition;

       c. Dates of any treatment for that psychological or emotional condition;

       d. Any medication you have taken, or currently take, for that psychological or

            emotional condition.



17. Did you have physical contact with Officer Haynes-Hawkins on June 9, 2019? If yes,

   please describe in detail any parts of your body that made contact with her body and vice-

   versa.




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18. Describe in detail all words exchanged between you and Officer Haynes-Hawkins on June

   9, 2019.



19. Do you contend that any Defendants, or other employee of the City of Philadelphia and/or

   any other governmental employee made any verbal statement within your hearing, either

   to you, or to any other individual, relating in any way to the incident which forms the basis

   for your Complaint on June 9, 2019? If so, please include the following information:

       a. Contents of the statement;

       b. Person who made the statement;

       c. Person to whom the statement was made;

       d. Approximate time the statement was made;

       e. Any person to whom you have already relayed information regarding the

           statement.



20. In the five (5) years immediately preceding the incident which forms the basis for your

   Complaint, did you receive any treatment for any physical, psychological or emotional

   condition which you have not already identified in previous Interrogatories? If so, please

   include:

       a. Name and address of any licensed professional who rendered, prescribed, or

           recommended such treatment;

       b. Dates of any such treatment;




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21. Have you, or has anyone on your behalf, made any verbal complaint or grievance to any

   individual relating to the incident which forms the basis for your Complaint or events

   which you contend preceded, and were related to, the incident. If so, please include:

       a. Who complained;

       b. The name, rank, and organizational affiliation of the individual to whom you or

           your agent made a complaint;

       c. The contents of any such complaint.



22. Please identify the fact witnesses you, or your attorney/agent, may call at trial. For each

   witness, please include:

       a. The witness’ name;

       b. The witness’ address;

       c. A summary of the witness’ expected testimony.



23. Please identify the expert witnesses you, or your attorney/agent, may call at trial. For each

   witness, please include:

       a. The witness’ name;

       b. The witness’ address;

       c. A summary of the witness’ expected testimony.


24. Have you been interviewed by any person other than your attorney regarding the subject

   matter of this lawsuit?


       a. If the answer is “yes,” state the name of the person, the organization he/she belongs
          to, the date of the statement, and the relationship between that person and you.


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25. Identify any written statement you have obtained from any other person, relating to the

   alleged incident described in your Complaint. State the context of the written statement(s).




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Requests for Production of Documents

Please provide the following:


       1. Any and all documents identified in Plaintiff’s Answers to the Interrogatories served

            in this matter.



       2. Any other documents that you may introduce at trial.


       3.   All bills, receipts, reports, diagnoses or prognoses and records for any and all medical,
            physical, psychiatric and/or psychological treatment by any doctor, hospital,

            psychologist, pharmacy or medical facility for any injury, damage or treatment received

            from the date of the incident to present and for any of the alleged incidents of Plaintiff’s

            Complaint.



       4.   All medical records, employer’s statements, lost wage and/or employment records and

            all other writings that establish any claim for medical bills, lost earnings, lost earning

            capacity and/or other financial losses.



       5. All receipts or other documents that show the amounts paid by you for the physical,

            psychological, and/or emotional injuries sustained as a result the actions complained of

            in your lawsuit



       6.   Any and all press releases, newspaper, magazine articles, or other news articles that

            relate to your lawsuit.


       7. Any video or audio recordings that relate to the incident that forms the basis of your

            Complaint.



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Date: July 31, 2020       /s/ Shannon Zabel
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                              Plaintiff,            :
                                                    :              Civil Action
                      v.                            :              No. 19-5760
                                                    :
CHARMAINE HAWKINS, et al.,                          :
                   Defendants.                      :
                                                    :

                                    CERTIFICATE OF SERVICE

        I, Shannon Zabel, Esquire, Attorney for Defendants, in the above-captioned matter, certify
that a true and correct copy of the Defendants’ Interrogatories and Requests for Production of
Documents was served on this date via email to Plaintiff’s counsel, Thomas Malone, Esq.



Date: July 31, 2020                                 /s/ Shannon Zabel
                                                    Shannon Zabel
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